Case 2:02-cr-20007-.]PI\/| Document 32 Filed 04/25/05 Page 1 of 3 Page|D 40

IN THE UNITED sTATEs DISTRICT coURT Ff!-*..
FOR THE wEsTERN DISTRICT oF TENNEssEE
wEsTERN D:vIsIoN 95/31?"?€25 é""! .r 0

 

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UNITED sTATEs OF AMERICA W-D- OF TN, Mb.v.P§zé

plaintiff,
J’Z 2000 7

criminal NO. &-Hm

(90-Day Continuance)

CLlnh Lr’om
pf

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, JulV 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 22nd day of April, 2005.

This document entered on the docke'usheet in co phases 7
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Case 2:O2-cr-20007-.]PI\/| Document 32 Filed 04/25/05 Page 2 of 3 Page|D 41

so oRDERED this 22ncl day of April, 2005.

szmwl

JON PHIPPS MCCALLA
Ul\T ED S'I`A'I`ES DISTRICT JUDGE

 

  

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Counsel for Defendant(s)

ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

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Timothy R. DiScenZa

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Honorable J on McCalla
US DISTRICT COURT

